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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

 

 

 

 

(SAN ANTONlO DIVISION)

WILLIAM G. HENDRIX, §

§

Plaintiff §

§

VS. §
§ Civil Action No. l6-1296

METROPOLITAN LLOYDS INSURANCE §
COMPANY OF TEXAS § (l"ormel'lg 198rel Judicial District,
§ Bandera County District Court, Texas
Defendant § Case No. CVDV-l6-000043 l)

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DEFENDANT METROPOLITAN LLOYDS INSURANCE COMPANY
OF TEXAS’S NOTICE OF REMOVAL

COMES NOW Defendant Metropolitan Lloyds lnsurance Company of Texas and hereby
removes Case No. CVDV-l6-000043l from the District Court of the l98th Judicial District,
Bandera County, Texas, to the United States District Court for the Western District of Texas,
pursuant to 28 U.S.C. §§l332(a), l44l, and 1446, and as grounds for its removal states as
follows:

Introduction

l. This removal is based on diversity jurisdiction, Plaintiff William Hendrix has
sued Defendant Metropolitan Lloyds Insurance Company of Texas relating to Plaintiff` s rights to
recover uninsured/underinsured motorist benefits resulting from an accident that occurred on
April 11,2015.

2. On November 22, 2016, Plaintiff William Hendrix filed his Original Petition and
Request for Disclosure to Defendants in Bandera County, Texas, 198rd Judicial District, styled

William Hendrix v. Metropolitan Lloyds Insurance Company of Texas, Case No. CVDV-l6-

 

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0000431. A true and correct copy of the said Original Petition and Request for Disclosure to
Defendant is attached hereto as Exhibit A.

3. As Metropolitan Lloyds Insurance Company of Texas is the only Defendant,
consent to remove the action from the District Court of the 198th Judicial District, Bandera
County, Texas, to United States District Court for the Western District of Texas is not required.

4. Pursuant to 28 U.S.C. § l446(a) a copy of all process, pleadings, and orders
served upon Defendant are attached hereto including the citation (attached as Exhibit B), the
Original Petition and Request for Disclosure to Defendant described in paragraph A above
(attached as Exhibit A), the Verit`ied Plea In Abatement and Original Answer filed December
22, 2016 in the District Court of the 198th Judicial District, Bandera County, Texas (attached as
Exhibit C).

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5. The Original Petition purports to assert several causes of action, but all of the
purported causes of action arise from a car accident that occurred on or about April ll, 2015 in
which Plaintiff Was involved in a collision with John N. Novak, Jr. See Exhibit A, Plaintift’ s
Original Petition, Section V. Plaintiff was traveling in the 600 block of Main Street in Bandera,
Bandera County, Texas when Mr. Novak rear ended him at the intersection of Main and Pecan
Street. Ia'. Plaintiff asserts that Mr. Novak was uninsured/under insured. Ia'.

6. The Original Petition purports to assert that the Defendant breached its contract
with Plaintiff and failed to provide contractual benefits in a timely manner. See Exhibit A,
Plaintiff’ s Original Petition and Request for Disclosure, Paragraph IX. Plaintiff asserts that
Defendant owed Plaintiff a duty to act reasonably in evaluating, investigating and settling his

claim and that Defendant negligently breached this duty. Id. at Paragraph X. Plaintiff asserts

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that Defendant owed Plaintiff a duty of good faith and fair dealing and that Defendant breached
that duty for denying and/or delaying payment of uninsured/underinsured motorist benefits. Ia'.
at Paragraph XI. Plaintiff asserts that Defendant is guilty of false, misleading and/or deceptive
acts and practices prohibited by the Deceptive Trade Practices Act. Id. at Paragraph XII.
Plaintiff asserts that Defendant is guilty of unfair insurance practices in violation of the Texas
Insurance Code and the statutes, board rules, regulations, and rules incorporated by and/or
referenced by provisions of the Code. Ia'. at Paragraph XIII. Plaintiff also is seeking declaratory
judgment regarding the rights, responsibilities and obligations under the contract. Id. at
Paragraph XIV.

7. The Original Petition and Request for Disclosure to Defendants does not contain
any specific jurisdiction language, other than to say that the claim is within the jurisdictional

limits of the court.

Argument
8. Plaintiff is now, and was at the time of removal, and at the time of the filing of the
lawsuit, a citizen of Texas.
9. In contrast, Defendant Metropolitan Lloyds is now, and was at the time of

removal, and at the time of the filing of the lawsuit, an unincorporated association of
underwriters which have associated together for the purposes of engaging in the business of
insurance as permitted under Chapter 941 of the Texas Insurance Code, as amended.
Metropolitan Lloyds is not a partnership, joint stock company, or a quasi-corporation
Metropolitan Lloyds is comprised of twelve (12) underwriters, all of whom reside in, and are
citizens of, the Commonwealth of Massachusetts, the State of Illinois, or the State of Rhode

Island and Providence Plantations. Metropolitan Lloyds is administratively headquartered in the

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City of Warwick, Kent County, State of Rhode Island and Providence Plantations. For the
purposes of ascertaining whether federal courts have diversity jurisdiction, an unincorporated
association is considered to have the citizenship of its members. Royal Insurance Co. v. Quinn-L
Capital Corp., 3 F.3d 877, 882(5th Cir. 1993).

10. Removal is proper because this lawsuit involves a controversy between citizens of
a different state. Specifically, Plaintiff is now, and was at the time of removal, and at the time of
the filing of this lawsuit, a citizen of Texas. See Plaintiff’s Original Petition and Request for
Disclosure to Defendants, Paragraph I. In contrast, Defendant is now, and was at the time of the
filing of this lawsuit, an unincorporated association of underwriters whose members resides in,
and are citizens of, the Commonwealth of Massachusetts, the State of Illinois, or the State of
Rhode Island and Providence Plantations. Royal Insurance Co. of America v. Quinn-L Capital
Corp., 3 F.3d 877, 822 (5th Cir. 1993). (“Royal is an unincorporated association that sells
insurance under a so-called ‘Lloyd’s plan.” For purposes of ascertaining whether the federal
courts have diversity jurisdiction, an incorporated association is considered to have the
citizenship of its members.”). Thus diversity citizenship exists between the parties.

ll. Additionally, the amount in controversy is over $75,000.00. Plaintiff specifically
pled “damages exceed 8100,000.” See Plaintiffs Original Petition and Request for Disclosure to
Defendant, Paragraph III.

12. Accordingly, this Court has jurisdiction over this matter under 28 U.S.C. §§
1332(a) and 1446 because there is a complete diversity of citizenship between Plaintiff and
Defendant and the matter in controversy exceeds the sum or value of $75,000.00, exclusive of
interest and costs. The amount in controversy is determined from the complaint itself. Wright v.

Spindletop Films, LLC, 845 F. Supp. 2d 783, 787 (S.D. Texas 2012).

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13. This Notice of Removal is properly filed in this Court pursuant to 28 U.S.C. §§
l441(a) and l446(a) because the United States District Court for the Western District of Texas
(San Antonio Division) is in the federal judicial district embracing the District Court of the 198th
Judicial District, Bandera County, Texas, where the civil action to be removed hereby was
originally filed and was still pending on the date hereof`.

14. On December l, 2016, Defendant first received a copy of Plaintiff s Original
Petition and Request for Disclosure to Defendant, included in Exhibit A, the initial pleading
setting forth the claim for relief upon which this action is based and of the citation (summons).
This removal was filed within 30 days of service. This action has been on file for less than a
year. Accordingly, this Notice of Removal is timely filed under 28 U.S.C. §1446(b)(2)(A).

15. A copy of this Notice of Removal will be contemporaneously filed with the Clerk
of Court in Bandera County, Texas, 198th Judicial District and served upon counsel for all parties
pursuant to 28 U.S.C. § l446(d).

l6. Venue is proper in this district pursuant to 28 U.S.C. § l441(a) because the
United States District Court for the Western District of Texas, San Antonio Division, embraces
Bandera County, Texas, where the state court action was filed and is currently pending.

17. Defendant has demanded a jury in the state court action.

18. Attached to this Notice of Removal as Exhibit A though are the following
documents required by 28 U.S.C. § l446(a). These documents are hereby incorporated herein
by reference:

Exhibit A: Plaintiff’s Original Petition and Request for Disclosure to Defendant

Exhibit B: Citation (summons)

Exhibit C: Defendant’s Verified Plea in Abatement and Original Answer

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Exhibit D: Civil Cover Sheet

Conclusion

By this Notice of Removal, Defendant does not waive any objection Defendant may have

as to service, jurisdiction, or venue, or any other defenses or objections any of them may have in

this action. Further, Defendant does not intend any admission of fact, law or liability by this

notice, and expressly reserve all rights, defenses, motions, and/or pleas.

Respectfully submitted,

HAWKINS PARNELL THAC STON & YOUNG LLP

By:

 

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CoUNSEL FoR DEFENDANT
METROPOLITAN LLOYDS INsURANCE
CoMPANY oF TExAs

CERTIFICATE OF SERVICE

I hereby certify by my signature above that a true and correct copy of the foregoing
document has been sent by electronic filing to counsel of record, in accordance with the Texas
Rules of Civil Procedure on this the 22nd day of December, 2016.

W. Burl Brock
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